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             ATTACHMENT B
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                                 CURRICULUM VITAE
                                      MINGQING XIAO
               Southern Illinois University, Carbondale, IL 62901-4408
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RESEARCH AREAS: Systems and Control, Scientific Computing, Mathematical Biology,
                Numerical PDEs, and Optimization.

EDUCATION
 1. University of California at Davis, Postdoc (Mentor: Arthur J. Krener), 1997-1999.
 2. University of Illinois at Urbana-Champaign, Ph.D. (Thesis Adviser: Tamer Başar), Control
    Theory, 1997.
 3. University of Illinois at Urbana-Champaign, Computational Science & Engineering, M.S.,
    1995.
 4. Sun Yat-Sen University, China, Applied Mathematics, M.S., 1989.
 5. Guangdong University of Technology, China, Mathematics, B.S., 1983.

PROFESSIONAL EXPERIENCE
 1. Professor, Department of Mathematics, Southern Illinois University, Carbondale (since July
    2007).
 2. Guest Professor, Shenzhen University, China, since December, 2015).
 3. Guest Professor, University of Electronic Science and Technology of China (since March
    2015).
 4. Southern Illinois University Faculty Senator (2012-2015).
 5. Guest Professor, Guangdong University of Technology, China (since March 2010).
 6. IEEE senior member (since 2006).
 7. Associate Professor, Department of Mathematics, Southern Illinois University, Carbondale,
    IL (July 2002–June 2007)
 8. Assistant Professor, Southern Illinois University, Carbondale, IL (January 2000–June 2002).
 9. Summer Faculty Fellow, US Air Force Research Laboratory (Air Vehicles), Wright-Patterson,
    Ohio, Summer 2001 and 2002.
10. Visiting Research Assistant Professor, Department of Mathematics, University of California,
    Davis, CA (July 1997–December 1999).
11. Visiting Scholar, Board of Studies in Applied Mathematics, Chinese University of Hong Kong,
    Hong Kong, Summer 1990.
12. Research Fellow & Lecturer, Department of Mathematics, Sun Yat-Sen University, China
    (June 1989–August 1991).

TEACHING EXPERIENCE
 A. Teaching Interests and Specialties: working with students from diverse backgrounds.
 B. Teaching Awards and Honors:
    (1) 1994, 1995 On the Incomplete List of Teachers Ranked as Excellent by their Students,
        University of Illinois at Urbana-Champaign. Three times nominated for departmental
        teaching award (1994–96).
    (2) 1985, Outstanding Teacher of Guangdong Province, China.

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RESEARCH AWARDS
    A. Research Grants:
 1. Natural Science Foundation of Guangdong Province of China, Co-PI, RMB 1, 200, 000 (ap-
    proximately $180, 000), 2018-2022 (with Shuting Cai and Xiaoming Xiong).
 2. National Science Foundation, Numerical Approximation of Joint Spectral Radius by Lower
    Rank Matrix Sets, DMS-1419028, PI, $90, 000, 2014-2017 (with J. Xu).
 3. Qatar Research Foundation, State Estimation and Observer Design for Nonlinear Dissipative
    PDE Systems, NPRP8-1679-2-701, $205,849, PI, 2012-2015 (with T. Huang).
 4. SIUC internal grant, Modeling and Analysis of Antioxidants on Horticulture Crops in Rela-
    tion to Agricultural Practices in Southern Illinois, $4, 600, PI, 2015-2016 (with M. Lefticariu,
    B. Taylor, and D. Xu).
 5. National Science Foundation, Collaborative Research: Vulnerable host stages, development
    time and host-parasitoid stability - The first experimental test, NSF-1021203, $210, 000, Co-
    PI, 2010-2015 (with J. Reeve and D. Xu).
 6. National Science Foundation, Study of Observability of Nonlinear Distributed Parameter Sys-
    tems with Applications to Aeroengines and Chemical Reactions, $91, 000, PI, NSF-0605181,
    2006–2010.
 7. National Science Foundation, Symposium on New Trends in Nonlinear Dynamics and Control
    and their Application, $12, 500, PI, NSF-0206627, 2002–2003.
 8. Air Force Office of Scientific Research, Flow Control, $10, 000, Co-PI, RMA5H, 2002–2003
    (with Wei Kang).
 9. SIU Faculty Seed Grant, Fluid dynamics and Flow Control, $8000, PI, 2003.
10. US Air Force Summer Faculty Fellowship, Study of Flow Control, $21, 000, 2002.
11. US Air Force Summer Faculty Fellowship, Study of Flow Control, $21, 000, 2001.
12. University of Illinois Research Fellowship, summer 1995, 1996–1997.
     B. Honor Received: SIU College of Science Scholar Excellence Award, 2016.

 EDITORIAL BOARDS
 (1) IEEE Transactions on Automatic Control 2004-2007.
 (2) Automatica 2008-2011.
 (3) European Journal of Control since 2010.
 (4) Nonlinear Analysis: Hybrid Systems 2011-2015.
 (5) International Journal of Sensors, Wireless Communications and Control since 2011
 (6) Numerical Algebra, Control and Optimization since 2010.
 (7) the Open Electrical & Electronic Engineering Journal since 2007.
 (8) International Journal of Innovational Computing, Information, and Control since 2004.
 (9) the Open Automation and Control Systems Journal 2007-2010.
(10) Recent Patents on Electrical Engineering since 2008.
(11) ICIC Express Letters 2008-2010.
(12) Mathematical Problems in Engineering, guest editor, 2011-2012.
(13) Journal of Franklin Institute, guest editor, 2014-2015.

PROFESSIONAL SERVICE
 1. Membership in Professional Associations: AMS, SIAM, IEEE (senior member).
 2. Evaluation of Manuscripts for Journals:
    (a) Journal of Fluid Mechanics;
    (b) IEEE Trans. Automat. Control;

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      (c) Automatica;
      (d) SIAM Journal Control and Optimization;
      (e) Mathematics of Control, Signal and Systems;
      (f) Asian Journal of Control.
      (g) Journal of Franklin Institute.
      (h) Applied Mathematics Letters.
       (i) Systems & Control Letters.
       (j) Journal of Robust and Nonlinear Control.
      (k) SIAM Journal Multiscale Modeling and Simulation.
       (l) European Journal of Control.
     (m) International Journal of Bifurcation & Chaos.
      (n) Journal of Mathematical Analysis and Applications.
      (o) International Journal of Control.
      (p) Nonlinerarities.
      (q) Nonlinear Dynamics.
  3. Evaluation of grant proposals for:
      (a) US-Israel Binational Science Foundation (2010-present);
      (b) Romanian National Council for Scientific Research (2011-present).

 SELECTED INVITED PRESENTATIONS
 (1) Keynote Speaker of the Symposium on Interdisciplinary Computation & Optimization (SICO
     2017), July 20-26, Ballarat, Australia, 2017.
 (2) Invited speaker of the 2013 World Congress on Global Optimization (WCGO 2013), July
     7-12, The Yellow Mountains, China, 2013.
 (3) Invited speaker of the 2010 International Conference on Computational Intelligence and
     Security (CIS’10), Dec. 11-14, Nanning, China, 2010.
 (4) “Recent development of nonlinear observer design”, Sun Yat-Sen University, Guangzhou,
     May 19, 2010.
 (5) “Hopf bifurcation of the viscous Moore-Greitzer PDE model”, South China Normal Univer-
     sity, Guangzhou, Dec. 19, 2009.
 (6) “Feedback Stabilization of Aeroengines”, University of Maryland at Baltimore, Oct. 10, 2008.
 (7) “Chaotic Systems and Discrete-time Observer Design”, Center for Chaos and Synchroniza-
     tion, City University of Hong Kong, Hong Kong, March 3, 2006.
 (8) “Feedback Control of Compression Systems”, Dept. of Mathematics, University of Georgia,
     Athens, March 3, 2003.
 (9) “Feedback Control of Circular Cylinder Wake: Finite Difference Approach”,US Air Force
     Research Laboratory, Wright-Patterson, Ohio, July 30, 2002.
(10) “Control of Circular Cylinder Wake via Energy Method”, US Air Force Research Laboratory,
     Wright-Patterson, Ohio, July 25, 2001.
(11) “Flow Control of Compression Systems”, Engineering School, Case Western Reserve Uni-
     versity, April 4, 2001, Cleveland, Ohio.
(12) “Nonlinear Observer Design in the Siegel domain”, AMS Spring Central Section Meeting in
     Lawrence, KS, March 30, 2001.
(13) “Nonlinear Observer Design through Coordinate Changes”, the 5th International Federation
     of Automatic Control (IFAC), Saint-Petersburg, Russia, July 4–6, 2001.
(14) “Center Manifold of Compression Systems”, University of California, Davis, June 10, 1999.
(15) “Control of Compression Systems”, Tennessee Technological University, Cookeville, Ten-
     nessee, March 1, 1999.

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(16) “Control of Rotating Stall in Jet Engines”, California State University, Chico, April 8, 1999.
(17) “Control of Hopf Bifurcations of PDEs”, Santa Clara University, Santa Clara, California,
     April 13, 1999.
(18) “Characteristics of Control Problems Under Disturbances”, Iowa State University, Ames,
     Iowa, February, 1998.
(19) “H-infinity Optimal Control Problems”, Western Michigan University, Kalamazoo, Michi-
     gan, March 12, 1997.
(20) “Feedback Control of a Class of Nonlinear Distributed Parameter Systems”, Chinese Uni-
     versity of Hong Kong, June 12, 1990.
UNIVERSITY SERVICE
 A. Department Committee: Math Field Day, Spring and Fall 2000.
 B. Department Committee: Engineering Liaison Committee, Fall 2001 and Spring 2002.
 C. Department Committee: Engineering Liaison Committee, Personnel Committee, Graduate
     Advisor Committee, Promotion Committee, Fall 2002 and Spring 2003.
 D. Department Committee: Planning Committee, Graduate Advisor Committee, and Engineer-
     ing Liaison Committee. Calculus Course Chair, Spring and Fall 2004.
 E. Department Committee: Numerical Analysis Search Committee, Planning Committee (2005).
 F. Department Committee: Analysis Search Committee (Spring 2006), Graduate Advisor Com-
     mittee (2006-present), and Engineering Liaison Committee (2005-present), Colloquium Co-
     ordinator (2006-2011).
G. Math 113 Course Chair (2005-2010).
 H. University Morris and Doctoral Fellowship review panel(2010-2013).
  I. SIU ORDA internal grant review panel (Spring 2011).
 J. Agriculture Dean Search Committee (Fall 2011-Spring 2012).
 K. Faculty Senate, 2012-2015.
 L. College of Science Dean Search Committee, Sept.-Dec., 2013.
M. Faculty Status and Welfare Committee, 2012-2014.
 N. Senate Budget Committee, 2014-2015.

SOCIETY SERVICE
(1) Program Committee, SIAM Conference on Control and Its Applications, to be held at Pitts-
    burgh, PA, July 10-12, 2017.
(2) Organizing Committee, International Federation of Automatic Control (IFAC) Nonlinear
    Control Symposium, Monterey, CA, August 23-25, 2016.
(3) Technical Committee, International Conference on Mechanical Engineering and Control Au-
    tomation, Wuhan, China, January 9-10, 2016.
(4) Program Committee, SIAM Conference on Control and Its Applications, Paris, France, July
    8-10, 2015.
(5) Program Committee, SIAM Conference on Control and Its Applications (CT13), San Diego,
    CA, 2013.
(6) Technical Committee, the 18th IFAC World Congress, Milan, Italy 2011.
(7) International Committee, the 2nd International Conference on Innovative Computing, Japan,
    2007.
(8) Session Chair, 2005 American Control Conference, Portland, Oregon, June 8–10, 2005.
(9) Organizer of international Symposium on New Trends in Nonlinear Dynamics and Control
    and Their Applications, Monterey, California, October 18–19, 2002. (with Wei Kang and

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     Carlos Borges).
(10) Session Chair, the 40th IEEE Conference on Decision and Control, Orlando,
     Florida, December 4–7, 2001.
(11) Organizer of a technical session in the Fifth SIAM Conference on Control and its Applica-
     tions, San Diego, California, July 11–14, 2001.
(12) Organizer of two technical sessions in the 5th International Federation of Automatic Control
     (IFAC), Saint-Petersburg, Russia, July 4–6, 2001.
(13) Organizer of two technical sessions in the 39th IEEE Conference on Decision and Control,
     Sydney, Australia, 2000.
(14) Session Chair, the 39th IEEE Conference on Decision and Control, Sydney, Australia, 2000.
(15) Session Chair, the 37th IEEE Conference on Decision and Control, Tampa, Florida, 1998.



 PUBLICATIONS
 Book Edited
  1. “New Trends in Nonlinear Dynamics and Control and their Application”. Springer-Verlag,
     Heidelberg, 2003. ISBN 3-540-40474-0. (with W. Kang and C. Borges and supported by NSF
     and AFOSR)
 Journal articles and book chapters
 (1) B. Li, J. Liu, and M. Xiao. A new multigrid method for unconstrained parabolic optimal
     control problems, Journal of Computational and Applied Mathematics, vol. 326, pp. 358-373,
     2017.
 (2) X. Dai, T. Huang, Y. Huang, Y. Luo, G. Wang, and M. Xiao. Chaotic behavior of discrete-
     time linear inclusion dynamical systems, Journal of the Franklin Institute, vol. 354, no. 10,
     pp. 4216-4155, 2017.
 (3) M. Yang, D. Che, W. Liu, Z. Kang, C. Pong, M. Xiao, and Q. Chen. On identifiability
     of 3-tensors of multilinear rank (1, Lr , Lr ), Big Data and Information Analytics, American
     Institute of Mathematical Sciences, vol 1, no. 4, pp. 391-401, 2017.
 (4) X. Dong and M. Xiao. Output feedback admissible control for singular systems: Delta oper-
     ator (discretised) approach, EAJAM, vol. 7, no. 2, pp. 248-268, 2017.
 (5) J. Liu, B. D. Froese, A. M. Oberman, and M. Xiao. A multigrid scheme for 3D Monge Ampre
     equations, Computer Mathematics, vol. 93, no. 9, pp. 1850-1866, 2017.
 (6) R. Ke, W. Li, and M. Xiao. Characterization of extreme points of multi-stochastic tensors,
     Computational Methods in Applied Mathematics, 16(3), pp. 459-474, 2016.
 (7) J. T. Cronin, J. D. Reeve, D. Xu, M. Xiao, and H. S. Stevens. Variable prey development time
     suppresses predator-prey cycles and enhances stability, Ecology Letters, 19(3), pp. 318-327,
     2016.
 (8) J. Liu and M. Xiao. A semi-smooth Newton-multigrid method for semilinear parabolic opti-
     mal control problems, Computational Optimization and Applications, 63(1), pp. 69-95, 2016.
 (9) J. Liu, Y. Huang, H. Sun, and M. Xiao. Numerical methods for weak solution of wave
     equation with van der Pol type nonlinear boundary conditions. Numerical Methods for Partial
     Differential Equations, 32(2), pp. 373-398, 2016.
(10) J. Liu and M. Xiao. A new semi-smooth Newton multigrid method for control-constrained
     semilinear elliptic PDE problems, Journal of Global Optimization, vol.64, no. 3, pp. 451-468,
     2016.

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(11) B. Li, J. Liu, and M. Xiao. A fast and stable preconditioned iterative method for optimal
     control problem of wave equations, SIAM J. on Scientific Computing, 37(6), pp. A2508-
     A2534, 2015.
(12) W. Zhang, C. Li, T. Huang, and M. Xiao. Synchronization of neural networks with stochastic
     perturbation via aperiodically intermittent control, Neural networks, vol. 71, pp. 105-111,
     2015.
(13) X. Zhou, C. Li, T. Huang, and M. Xiao. Fast gradient-based distributed optimization ap-
     proach for model predictive control and application in four-tank benchmark, Control Theory
     & Applications, IET, vol. 9, issue 10, pp. 1579-1586, 2015.
(14) S. Wen, Z. Zeng, T. Hunag, X. Xu, and M. Xiao. New criteria of passivity analysis for fuzzy
     time-delay systems with parameter uncertainties, IEEE Trans. on Fuzzy Systems, 23(6), pp.
     2284 - 2301, 2015.
(15) X. Dong and M. Xiao. D-admissible hybrid control of a class of singular systems, Nonlinear
     Analysis: Hybrid Systems, vol. 17, pp.94-110, 2015.
(16) X. Liu, Y. Huang, and M. Xiao. Approximately nearly controllability of discrete-time bilinear
     control systems with control input charactistic, Journal of the Frankin Institute, vol. 352,
     No.4, pp.1561-1579, 2015
(17) X. Dai, Y. Huang, and M. Xiao. Pointwise stability of homogeneous matrix-valued Markovian
     processes, IEEE Trans. Automat. Control, vol. 60, no. 7, pp.1898-1903 , 2015.
(18) X. Dong and M. Xiao. H ∞ control of singular systems via Delta operator method, Interna-
     tional Journal of Control Automation and Systems, vol. 13, no. 3, pp.643-651, 2015.
(19) M. Xiao and T. Huang. Inertial manifold and state estimation of dissipative nonlinear PDE
     systems, Applicable Analysis, vol. 93, No. 11, pp.2386-2401, 2014.
(20) X. Gao, T. Huang, Y. Huang, J. Liu, and M. Xiao. Observer design for axial flow compressor,
     ASME J. Dynamic Systems, Measurement, and Control, vol. 136(5), 051017, pp. 1-12, 2014.
(21) J. Wen, H. Liu, S. Zhang, and M. Xiao. A new fuzzy K-EVD orthogonal complement space
     clustering method, Neural Computing and Applications, 24(1), pp. 147-154, 2014.
(22) M. Xiao and J. Xu. Sharp bounds of the inverse matrices resulted from five-point stencil in
     solving Poisson equations, Linear Algebra and its Applications, vol. 444, pp. 231-245, 2014.
(23) X. Dong and M. Xiao. Admissible control of linear delta operator systems, Circuits, Systems,
     and Signal Processing, 33(7), pp. 2043-2064, 2014.
(24) X. Gao, T. Huang, Z. Wang, and M. Xiao. Exploiting a modified Gray model in black
     propagation neural networks for enhanced forecasting, Cognitive Computation, 6(3), pp. 331-
     337, 2014.
(25) X. Dai, Y. Huang, and M. Xiao. Extremal ergodic measures and the finiteness property of
     matrix semigroups, Proc. Amer. Math. Soc., 141, 393–401, 2013.
(26) J. Liu and M. Xiao. Rank-one characterization of joint spectral radius of finite matrix family,
     Linear Algebra and its Applications, 438(8), pp. 3258-3277, 2013.
(27) M. Xiao, J. D. Reeve, D. Xu, and J. Crorin, Estimation of the diffusion rate and crossing
     probability for biased edge movement between two different type of hibatat, Journal of
     Mathematical Biology, vol. 67, no. 3, pp. 535-567, 2013.
(28) X. Dai, Y. Huang, and M. Xiao. Asymptotic stability of time-varying switched systems under
     perturbations, J. Math. Anal. Appl., vol. 408, no. 1, pp. 268-274, 2013.
(29) J. Xu and M. Xiao. On the iterative refinement of matrix upper bounds for the solutions of
     continuous coupled algebraic Riccati equations, Automatica, vol. 49, no. 7, pp. 2168-2175,
     2013.
(30) W. Kang, A. J. Krener, M. Xiao, and L. Xu. A survey of observer for nonlinear dynamical

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       systems, Data Assimilation for Atmospheric, Oceanic, and Hydrological Applications, vol. II,
       Springer-Verlag, pp. 1-25, 2013.
(31)   M. Xiao. Discussion on: ”New stabilization and tracking control laws for electrohydraulic
       servomechanisms”, European Journal of Control, vol. 19, no. 1, pp. 83-84, 2013.
(32)   L. Li, Y. Huang, and M . Xiao. Observer design for wave equations with van der Pol type
       boundary conditions, SIAM J. Control Optim., Vol. 50, No. 3, pp. 1200-1219, 2012.
(33)   X. W. Beardsley, B. Field, and M. Xiao, Mean-Variance-Skewness-Kurtosis portfolio opti-
       mization with return and liquidity, Comm. in Mathematical Finance, vol. 1, pp. 13-49, 2012.
(34)   X. Dai, Y. Huang, J. Liu, and M. Xiao. The finite-step realizability of the joint spectral radius
       of a pair of dxd matrices one of which being rank-one, Linear Algebra and its Applications,
       437(7), pp. 1548-1561, 2012.
(35)   J. Wen, M. Xiao, and J. Xu. Control of Hopf bifurcations of nonlinear infinite-dimensional
       systems: application to axial flow engine Compressor, Applicable Analysis, 91(11), pp. 1959–
       1980, 2012.
(36)   C. Li, T. Huang, Y. Gao, and M. Xiao. Anticipating synchronization through optimal feed-
       back control, J. Global Optimization, Vol. 52, No. 2, pp. 281-290, 2012.
(37)   J. Wang, Z. Yang, T. Huang, and M. Xiao, Synchronization criteria in dynamical networks
       with nonsymmetric coupling and multiple time-varying delays, Applicable Aanlysis, Vol. 91,
       No. 5, pp. 923-935, 2012.
(38)   X. Dai, Y. Huang, and M. Xiao. Realization of joint spectral radius via Ergodic theory,
       Elctron. Res. Announc. Math. Sci., Vol. 18, pp. 22-30, 2011.
(39)   J. Xu and M. Xiao. A characterization of the generalized spectral radius with Kronecker
       powers, Automatica , Vol. 47, No. 7, pp. 1530-1533, 2011.
(40)   J. Wang, Z. Yang, T. Huang, and M. Xiao. Local and global exponential synchronization
       of complex delayed dynamical network with general topology, Discrete and Continuous Dy-
       namical Systems-B, Vol. 16, No. 1, pp. 393-408, 2011.
(41)   X. Dai, Y. Huang, and M. Xiao. Periodically switched stability induces exponential stability
       of discrete-time linear switched systems in the sense of Markovian probabilities, Automatica,
       Vol. 47, No. 7, pp. 1512-1519, 2011.
(42)   Y. Huang, J. Lou, T. Huang, and M. Xiao. The set of stable switching sequences for discrete-
       time linear switched. systems, J. Math. Anal. Appl., 377, pp. 732-743, 2011.
(43)   X. Dai, Y. Huang, and M. Xiao. Criteria of stability for continuous-time switched systems
       by using Liao-type exponents, SIAM J. Control Optim., Vol. 48, No. 5, pp. 3271-3296, 2010.
(44)   D. Xu, J. D. Reeve, X. Wang, and M. Xiao. Developmental variability and stability in
       continuous-time host-parasitoid models, Theoretical Population Biology, Vol. 78, No. 1, pp.
       1-11, 2010.
(45)   M. Xiao. The construction of nonlinear discrete-time observers with local Lipschitz condi-
       tions, European Journal of Control, Vol. 15/2, pp. 131-142, 2009.
(46)   Y. Lin, X. Gao, and M. Xiao. High order finite difference method for 1D nonhomogeneous
       heat equations, Numerical Methods for Partial Differential Equations, Vol. 25, No. 2, pp.
       327-346, 2009.
(47)   M. Xiao. State estimation for nonlinear discrete-time systems with input signals, IMA J.
       Math. Control Inform., Vol. 26, pp. 141-150, 2009.
(48)   J. Lei, J. Wen, Min A, and M. Xiao. Approximation of Hopkins equation in Hilbert space and
       its application in polarized illumination modeling, Appl. Aanl , Vol. 88, No. 4, pp. 517-528,
       2009.

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(49) M. Xiao. Quantitative characteristic of rotating stall and surge for Moore-Greitzer PDE
     model of an axial flow compressor, SIAM J. Appl. Dyn. Syst., Vol. 7, No. 1, pp. 39-62, 2008.
(50) X. Dai, Y. Huang, and M. Xiao. Almost sure stability of discrete-time switched linear systems:
     a topological point of view, SIAM J. Control Optim., Vol. 47, No. 4, pp. 2137-2156, 2008.
(51) M. Xiao, C. Kravaris, and N. Kazantzis. On the nonlinear discrete-time observer design
     problem, Int. J. Modeling Identification and Control, Vol. 4, No. 1, pp. 3-11, 2008.
(52) C. Kravaris, V. Sotiropoulos, C. Georgiou, N. Kazantzis, M. Xiao, and A.J. Krener. Nonlinear
     observer design for state and disturbance estimation. Systems & Control Lett., 56(11-12),
     pp. 730-735, 2007.
(53) M. Xiao. The global existence of nonlinear observers with linear error dynamics: a topological
     point of view, Systems & Control Letters, 55, no.10, pp. 849-858, 2006.
(54) M. Xiao, M. Novy, J. Myatt, and S. Banda A. Rotary Control of the Circular Cylinder Wake:
     An Analytic Approach, Int. J. Innovational Computing and Information Control, Vol. 2, No.
     4, pp 723-735, 2006.
(55) M. Xiao, Y. Lin, J. Myatt, R. Camphouse, and S. Banda. Rotation Implementation of a
     Circular Cylinder in Incompressible Flow via Staggered Grid Approach, J. Appl. Math. &
     Computing, Vol. 22, No. 1-2, pp. 67-82, 2006.
(56) M. Xiao. Characterization of critical eigenvalues of axial flow engine compressor PDE model,
     Applicable Analysis, Vol. 85, no. 9, pp. 1123-1142, 2006.
(57) M. Xiao. A direct method for the construction of nonlinear discrete-time observer with
     linearizable error dynamics, IEEE Trans. Automat. Control, 51, no. 1, pp. 128-135, 2006.
(58) M. Xiao. Optimal control of nonlinear systems with controlled transitions, Nonlinear Dy-
     namics and Systems Theory, 5(2), pp. 177–188, 2005.
(59) A. J. Krener and M. Xiao. Nonlinear observer design for smooth systems, Chaos in Automatic
     Control, W. Perruquetti and J-P Barbot, eds., Marcel Dekker, pp. 411–422, 2005.
(60) M. Xiao. Optimum H-infinity designs of infinite dimensional systems under sampled state
     measurements, Industrial Mathematics and Statistics, J. C. Misra ed, Narosa Publishing
     House, New Delhi, pp. 317–344, 2003.
(61) W. Kang, M. Xiao, and I. Tall. Controllability and local accessibility- a normal form ap-
     proach. IEEE Trans. Automat. Control, Vol. 48, No. 10, pp. 1724–1736, 2003.
(62) M. Xiao and T. Başar. Optimal control of nonlinear uncertain systems of infinite-horizon via
     finite-horizon approximation, Nonlinear Dynamics and Systems Theory, 3(2), pp. 117–128,
     2003.
(63) W. Kang and M. Xiao. Control of Hopf bifurcations for infinite-dimensional nonlinear sys-
     tems, New Trends in Nonlinear Dynamics and Control and their Application, Springer-
     Verlag, pp. 101–116, 2003.
(64) M. Xiao, C. Kravaris, N. Kazantzis, and A. J. Krener. Nonlinear discrete-time observer design
     with linearizable error dynamics, IEEE Trans. Automat. Control, pp. 622–626, 2003.
(65) A. J. Krener and M. Xiao. Observers for linearly unobservable nonlinear systems, Systems
     & Control Letters, Vol. 46, pp. 281–288, 2002.
(66) M. Xiao. H ∞ -optimal boundary control of hyperbolic systems with sampled measurements,
     Dynamics of Continuous, Discrete and Impulsive Systems (series A: Mathematical Analysis),
     Vol. 9, pp. 457–479, 2002.
(67) A. J. Krener and M. Xiao. Nonlinear observers design in the Siegel domain, SIAM J. Control
     Optim., Vol.41, No.2, pp. 932–953, 2002.
(68) M. Xiao. Existence of solutions of two generalized Riccati operator equations and their
     representation, Applicable Analysis, pp. 325–354, Vol 78, 2001.

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(69) M. Xiao and T. Başar. Center manifold of the viscous Moore-Greitzer PDE model, SIAM J.
     of Applied Mathematics, Vol. 61, No. 3, pp. 855–869, 2000.
(70) M. Xiao and T. Başar. Finite-dimensional compensators of H-infinity-optimal control for
     infinite-dimensional systems via Galerkin-type approximation, SIAM J. Control Optim., Vol.
     37, No. 5, pp. 1614–1647, 1999.
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Community Service

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